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  IT IS ORDERED as set forth below:



   Date: August 1, 2019
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                             )        Case No. 18-66766-JWC
                                                   )
BEAUTIFUL BROWS LLC,                               )        Chapter 11
                                                   )
             Debtor.                               )

                   ORDER GRANTING MOTION TO SELL VEHICLES
                       THROUGH AN INTERNET AUCTION

         This matter is before the Court upon the Motion to Sell Vehicles Through an Internet

Auction (the “Motion”) (Docket 154) that was filed on July 3, 2019, by S. Gregory Hays

(“Trustee”), as the duly acting and authorized Chapter 11 Trustee in the above styled case.

Pursuant to 11 U.S.C. § 363(b), the Motion seeks the entry of an Order authorizing and

approving the proposed Section 363 sale of the Vehicles1 as described in the Motion through an

auction “as is,” “where is,” “with all faults” and without representation or warranty, express or

implied.
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        The Court having reviewed and considered the Motion, the record in this Case, and the

opportunity for a hearing, and it appearing that there are no objections of record to the relief

sought in the Motion, the relief sought in the Motion is in the best interest of the Debtor, its

creditors, and its estate, for good cause shown, it is hereby ORDERED and ADJUDGED that:

        1.      The Motion is GRANTED in all respects;

        2.      This Court: a) has jurisdiction over this matter and the parties and property

affected thereby; b) this is a core proceeding; and c) venue is proper;

        3.      The Trustee is, pursuant to Section 363 of the Bankruptcy Code, AUTHORIZED

to sell the Vehicles through auction “as is,” “where is,” “with all faults” and without

representation or warranty, express or implied;

        4.      The Trustee is further AUTHORIZED to: a) have the gross sale proceeds (sale

price, plus 10% buyer’s premium) paid to the Trustee at closing; b) pay to the Auctioneer the ten

(10%) percent buyer’s premium for each of the Vehicles sold by the Auctioneer; and c) pay the

Auctioneer $500 as reimbursement for auction expenses;2

        5.      The Trustee is further granted the authority to take any and all steps necessary to

consummate the sale of the Vehicles and is specifically authorized to: a) execute and deliver; b)

enter into all transactions; and c) take all further actions in order to sell and facilitate the transfer

of the Vehicles;

        6.      The stay of orders authorizing the use, sale, or lease of property provided for in

Bankruptcy Rule 6004(h) shall not apply to this Order, and this Order shall be effective and

enforceable immediately upon entry by the Clerk of the Court.                Time is of the essence.


1
  Capitalized terms not otherwise defined herein shall have the same meaning ascribed to such
terms in the Motion.
2
  To the extent that there is any discrepancy between the Motion and this Order with regard to
the compensation of the Auctioneer, the terms of this Order shall control.

                                                   2
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Therefore, any party objecting to this Order must exercise due diligence in filing an appeal and

pursuing a stay or risk any appeal being foreclosed as moot; and

       7.        This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order.

                                   ***END OF DOCUMENT***

Prepared and presented by:

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